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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 EASTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Fatina Cuisine LLC

2.   All other names debtor used       dba Milano's Pizza
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           8      1      –      4      7        4    5         9   3     2

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       433 S Seven Point Drive                                         1301 Northwest Hwy
                                       Number         Street                                           Number     Street
                                                                                                       Suite 207
                                                                                                       P.O. Box



                                       Seven Point                         TX       75143              Garland                       TX      75041
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Henderson                                                       from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




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Debtor Fatina Cuisine LLC                                                                 Case number (if known)

7.   Describe debtor's business        A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes

                                             7      2      2      5

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                         Chapter 7
                                            Chapter 9
     A debtor who is a "small               Chapter 11. Check all that apply:
     business debtor" must check                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     the first sub-box. A debtor as                         aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     defined in § 1182(1) who elects                        affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
     the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
     debtor") must check the second
     sub-box.                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                               OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                               sheet, statement of operations, cash-flow statement, and federal income tax
                                                               return, or if any of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                               Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                               form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                               Rule 12b-2.

                                            Chapter 12




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Debtor Fatina Cuisine LLC                                                                 Case number (if known)

9.   Were prior bankruptcy                  No
     cases filed by or against
     the debtor within the last 8           Yes. District                                        When                    Case number
     years?                                                                                             MM / DD / YYYY
                                                 District                                        When                    Case number
     If more than 2 cases, attach a
                                                                                                        MM / DD / YYYY
     separate list.
                                                 District                                        When                    Case number
                                                                                                        MM / DD / YYYY

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                   District                                                    When
     List all cases. If more than 1,                                                                                          MM / DD / YYYY
     attach a separate list.                       Case number, if known


                                                   Debtor                                                      Relationship

                                                   District                                                    When
                                                                                                                              MM / DD / YYYY
                                                   Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                            days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                            any other district.

                                            A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                            district.


12. Does the debtor own or                  No
    have possession of any                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                    needed.
    property that needs
                                                 Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                      related assets or other options).

                                                      Other


                                                 Where is the property?
                                                                               Number      Street




                                                                               City                                      State        ZIP Code

                                                 Is the property insured?

                                                      No
                                                      Yes. Insurance agency

                                                               Contact name

                                                               Phone




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Debtor Fatina Cuisine LLC                                                                Case number (if known)


              Statistical and adminstrative information
13. Debtor's estimation of             Check one:
    available funds                        Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                           creditors.

14. Estimated number of                     1-49                               1,000-5,000                          25,001-50,000
    creditors                               50-99                              5,001-10,000                         50,001-100,000
                                            100-199                            10,001-25,000                        More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million               $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million              $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million             $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million            More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million               $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million              $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million             $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million            More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 01/31/2024
                                                      MM / DD / YYYY



                                          X /s/ Mahmoud Abu Azab
                                              Signature of authorized representative of debtor
                                              Mahmoud Abu Azab
                                              Printed name
                                              Manager
                                              Title




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Debtor Fatina Cuisine LLC                                                Case number (if known)

18. Signature of attorney    X /s/ Joyce W. Lindauer                                         Date   01/31/2024
                                Signature of attorney for debtor                                    MM / DD / YYYY

                                Joyce W. Lindauer
                                Printed name
                                Joyce Lindauer
                                Firm name
                                Joyce W. Lindauer Attorney, PLLC
                                Number          Street
                                1412 Main Street, Suite 500

                                Dallas                                               TX              75202
                                City                                                 State           ZIP Code


                                (972) 503-4033                                       joyce@joycelindauer.com
                                Contact phone                                        Email address
                                21555700                                             TX
                                Bar number                                           State




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                                      UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF TEXAS
                                               TYLER DIVISION
  IN RE:   Fatina Cuisine LLC                                                    CASE NO

                                                                                 CHAPTER      11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 1/31/2024                                          Signature   /s/ Mahmoud Abu Azab
                                                                    Mahmoud Abu Azab
                                                                    Manager




Date                                                    Signature
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                        Attorney General of Texas
                        Bankruptcy Division
                        P O Box 12548
                        Austin, TX 78711-2548


                        Brightspeed
                        P.O. Box 6102
                        Carol Stream, IL 60197



                        Carisa Roush
                        c/o The Queenan Law Firm, P.C.
                        731 Station Dr
                        Arlington, TX 76015


                        Comptroller of Public Accounts
                        Revenue Accounting Division
                        Bankruptcy Section
                        PO Box 13528
                        Austin, TX 78711-0000

                        Internal Revenue Service
                        Centralized Insolvency Operations
                        PO Box 7346
                        Philadelphia, PA 19101-7346


                        Internal Revenue Service
                        Mail Code DAL-5020
                        1100 Commerce Street
                        Dallas, TX 75242


                        Liberty Mutual Insurance
                        175 Berkeley Street
                        Boston, MA 02116



                        Lisanti Food Service of Texas Inc
                        2010 Lakeside Pkwy
                        #100
                        Flower Mound, TX 75028


                        Nelson Propane
                        P.O. Box 2127
                        Corsicana, TX 75151
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                        Pierson & Fendley Insurance Agency LLC
                        419 N Main Street
                        Bonham, TX 75418



                        RBR Enterprises
                        310 A South 9th Street
                        Corsicana, TX 75110



                        Securities and Exchange Commission
                        Fort Worth Regional Office
                        c/o Farol Parcol, Bankruptcy Counsel
                        801 Cherry Street, 11th Floor
                        Fort Worth, TX 76102

                        Texas Workforce Commission
                        101 E. 15th Street
                        Austin, TX 78778-0001



                        The Hartford Insurance
                        3000 Internet Blvd
                        #600
                        Frisco, TX 75034


                        Trinity Valley Electric Cooperative
                        P.O. Box 1228
                        Kaufman, TX 75142



                        U.S. Attorney
                        110 N. College Ave.
                        Suite 700
                        Tyler, TX 75702-0204


                        U.S. Small Business Administration
                        10737 Gateway West
                        #300
                        El Paso, TX 79935


                        U.S. Trustee's Office
                        110 N. College Street
                        Suite 300
                        Tyler, TX 75702
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                        West Cedar Creek M.U.D.
                        921 South Tool Drive
                        Tool, TX 75143
